      Case 17-24278           Doc 55         Filed 06/24/19 Entered 06/24/19 16:34:50         Desc Main
                                               Document     Page 1 of 5
                              UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


  IN RE:
                                                               Case No.: 17-24278
            Leszek Plopa                                       Chapter: 13
            Judith A Plopa                                     Hearing Date: 7/3/19

                                                   Debtor(s)   Judge Jack B. Schmetterer



                                                NOTICE OF MOTION

TO:    Tom Vaughn, Chapter 13 Trustee, 55 E. Monroe Street, Suite 3850, Chicago, IL 60603 by electronic
       notice through ECF
       Leszek Plopa, Judith A Plopa, Debtor(s), 1591 Cove Drive, Unit #186D, Prospect Heights, IL 60070
       David M Siegel, Attorney for Debtor(s), 790 Chaddick Drive, Wheeling, IL 60090 by electronic notice
       through ECF




          PLEASE TAKE NOTICE that on 7/3/19, at 10:00AM, or as soon thereafter as counsel may be
  heard, I shall appear before the Honorable Judge Jack B. Schmetterer, Bankruptcy Judge, in the
  courtroom usually occupied by him/her at the Everett McKinley Dirksen Building, 219 South Dearborn,
  Chicago, Illinois, room 682, or before any other Bankruptcy Judge who may be sitting in his/her place
  and stead, and shall then and there present this Motion of the undersigned, a copy of which is attached
  hereto and herewith served upon you, and shall pray for the entry of an Order in compliance therewith, at
  which time you may appear if you so desire.

                                                 PROOF OF SERVICE

           The undersigned, an attorney, hereby certifies that I have served a copy of this Notice along with
  the attached Motion upon the parties listed above, as to the Trustee and Debtor's attorney via electronic
  notice on June 24, 2019 and as to the debtor by causing same to be mailed in a properly addressed
  envelope, postage prepaid, from 7140 Monroe Street, Willowbrook, IL 60527 before the hour of 5:00 PM
  on June 24, 2019.

                                                                        /s/ Grant Simmons
                                                                        Attorney for Movant

  Berton J. Maley ARDC#6209399
  Rachael A. Stokas ARDC#6276349
  Peter C. Bastianen ARDC#6244346
  Joel P. Fonferko ARDC#6276490
  Brenda Ann Likavec ARDC#6330036
  Grant W. Simmons ARDC#6330446
  Codilis & Associates, P.C.
  15W030 North Frontage Road, Suite 100
  Burr Ridge, IL 60527
  (630) 794-5300
  C&A FILE (14-19-03083)

  NOTE: This law firm is a debt collector.
  Case 17-24278             Doc 55         Filed 06/24/19 Entered 06/24/19 16:34:50      Desc Main
                                             Document     Page 2 of 5


                                           CERTIFICATE OF SERVICE


        The undersigned, an attorney, hereby certifies that I have served a copy of this Notice
along with the attached Motion upon the parties listed below, as to the Trustee and Debtor's
attorney via electronic notice on June 24, 2019 and as to the debtor by causing same to be mailed
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                                                                   /s/ Grant Simmons
                                                                   Attorney for Movant

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                                   Document     Page 3 of 5

                    UNITED STATES BANKRUPTCY COURT
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION
IN RE:
                                                    Case No.: 17-24278
        Leszek Plopa                                Chapter: 13
        Judith A Plopa                              Hearing Date: 7/3/19

                                        Debtor(s)   Judge Jack B. Schmetterer


              MOTION FOR RELIEF FROM THE AUTOMATIC STAY OR
                 IN THE ALTERNATIVE TO DISMISS THE CASE
                   FOR FAILURE TO MAKE PLAN PAYMENTS




       NOW COMES U.S. Bank Trust National Association, as trustee for CVF III Mortgage
Loan Trust II, (hereinafter "Movant"), by and through its attorneys, Codilis & Associates, P.C.,
and moves this Honorable Court pursuant to 11 U.S.C. §362(d) for an Order granting Movant
relief from the automatic stay or alternatively, for entry of an order dismissing the case pursuant
to 11 U.S.C. §1307, and in support thereof states as follows:


       1.      This Court has jurisdiction pursuant to 28 U.S.C. §1334 and Internal Operating
Procedure 15(a) of the United States District Court for the Northern District of Illinois, Eastern
Division;


       2.      The Debtor is indebted to Movant for which the Movant claims a valid security
interest in the property commonly known as 1591 Cove Dr, Prospect Heights, IL 60070-1910;


       3.      Enforcement of this security interest has been stayed automatically by operation
of 11 U.S.C. §362 of the Bankruptcy Code upon Debtor filing of this petition on 8/14/17;


       4.      The Chapter 13 plan herein provides for the cure of the default of said mortgage
and maintenance of current payments during the pendency of the proceeding;


       5.      Pursuant to the plan, Debtor(s) is/are to disburse the current monthly mortgage
payments directly to Movant beginning with the first payment due after the filing of the Chapter
13 Bankruptcy (subject to periodic adjustment due to change in escrow);
  Case 17-24278         Doc 55   Filed 06/24/19 Entered 06/24/19 16:34:50            Desc Main
                                   Document     Page 4 of 5

       6.      Movant is entitled to relief from the automatic stay under 11 U.S.C. Section
362(d) for the following reasons:


                  a)     As of 06/19/2019, the Debtor(s) is/are past due for the 1/5/19 payment,
                         and all amounts coming due since that date. Any payments received
                         after this date may not be reflected in this default;


                  b)     As of 06/19/2019, the total post-petition default through and including
                         6/5/19, is $3,456.86, which includes a suspense credit of $436.03. Any
                         payments received after this date may not be reflected in this default;


                  c)     On 07/05/2019, the default will increase and will continue to increase as
                         additional amounts become due;


       7.      Said failure to make post-petition mortgage payments is sufficient grounds for
relief from the automatic stay for cause pursuant to 11 U.S.C. Section 362(d)(1);


       8.      That sufficient grounds exist to dismiss this proceeding under 11 U.S.C. §1307 as:


                  a)     debtor’s failure to timely pay post-petition mortgage payments as
                         required under the plan and 11 U.S.C. §1322(b)(2) and (b)(5) constitutes
                         an unreasonable delay that is prejudicial to moving creditor and the case
                         should be dismissed under §1307(c)(1);


                  b)     debtor’s failure to timely pay post-petition mortgage payments as
                         required under the plan and 11 U.S.C. §1322(b)(2) and (b)(5) constitutes
                         “cause” and the case should be dismissed under the general provisions of
                         11 U.S.C. §1307;


                   c)    the default in post-petition mortgage payments constitutes a material
                         default under paragraph C of the Chapter 13 plan and case should be
                         dismissed under §1307(c)(6);
  Case 17-24278             Doc 55         Filed 06/24/19 Entered 06/24/19 16:34:50         Desc Main
                                             Document     Page 5 of 5

         9.        This Court has authority to order that Rule 4001(a)(3) is not applicable to the
order entered in granting this motion, and Movant requests this Court so order;


         10.        Movant has incurred attorney fees and/or costs in connection with this
bankruptcy proceeding:


                        $850.00        for Preparation of Notice and Motion for Relief from the
                                       Automatic Stay, and prosecution of same
                        $181.00        for Court filing fee




         WHEREFORE, U.S. Bank Trust National Association, as trustee for CVF III Mortgage
Loan Trust II prays this Court enter an Order pursuant to 11 U.S.C. Section 362(d) modifying the
automatic stay as to Movant, or alternatively, for an entry of an order dismissing the case
pursuant to 11 U.S.C. §1307, allowing the fees and costs described herein to be added to the
indebtedness pursuant to the terms of the note and mortgage, and for such other and further relief
as this Court may deem just and proper.
         Dated this June 24, 2019.
                                                               Respectfully Submitted,

                                                               Codilis & Associates, P.C.


                                                               By: /s/ Grant Simmons

                                                               Berton J. Maley ARDC#6209399
                                                               Rachael A. Stokas ARDC#6276349
                                                               Peter C. Bastianen ARDC#6244346
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